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                           UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO
                            Bankruptcy Judge Thomas B. McNamara

  In re:
                                                   Bankruptcy Case No. 23-11420 TBM
  LUKE VAN WALCH,                                  Chapter 7
  JANINE RETZ WALCH,

  Debtor(s).


  Floorplan Xpress LLC-OK,

  Movant,

  v.

  LUKE VAN WALCH,
  JANINE RETZ WALCH,
  Tom H. Connolly, Chapter 7 Trustee,

  Respondents.
   ______________________________________________________________________

                  NOTICE OF DEFICIENCY, REQUIREMENT TO CURE, AND
         RECOMMENDATION FOR DISMISSAL OF MOTION FOR RELIEF FROM STAY
       ______________________________________________________________________

     David M. Rich on behalf of Floorplan Xpress LLC-Ok (“Movant”), has filed a Motion for
Relief from the Automatic Stay (Docket No. 62, the “Motion”) and Notice pursuant to 4001-1.1
(Docket No. 64) in this case on October 5, 2023. The case file in this matter reflects that the
Motion has not been prosecuted in accordance with the Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, or Local Bankruptcy Rules of this Court, in the following respects:

    Movant attached a search pursuant to the Servicemembers Civil Relief Act of 2003
   (“SCRA”), 50 U.S.C. § 3901 et seq., and Local Bankruptcy Rule 4002-3(c), however, the
   Court requires an affidavit from Movant which states whether or not the Debtor is in the
   military service, and provides the necessary facts to support said affidavit. In this case
   Movant has failed to file an Affidavit reciting facts sufficient to satisfy the terms SCRA and
   Local Bankruptcy Rule 4002-3(c).

     NOTICE IS HEREBY GIVEN that if the above-referenced deficiency is not cured on or
before the date shown below, the Clerk shall recommend to the Court that the motion be denied
for lack of proper prosecution; and


Deficiency Cure Date: October 17, 2023.

Dated this 12th day of October, 2023
                                                 FOR THE COURT:
                                                 Kenneth Gardner, Clerk of the Court



                                                 Patricia M.K. Turner
                                                 Deputy Clerk
                                                 for the Honorable Thomas B. McNamara
